

Matter of Brooklyn E. (Victoria E.) (2024 NY Slip Op 01436)





Matter of Brooklyn E. (Victoria E.)


2024 NY Slip Op 01436


Decided on March 15, 2024


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 15, 2024
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., CURRAN, MONTOUR, DELCONTE, AND KEANE, JJ.


218 CAF 22-01998

[*1]IN THE MATTER OF BROOKLYN E. ERIE COUNTY DEPARTMENT OF SOCIAL SERVICES, PETITIONER-RESPONDENT; VICTORIA E., RESPONDENT-APPELLANT. (APPEAL NO. 2.) 






CAITLIN M. CONNELLY, BUFFALO, FOR RESPONDENT-APPELLANT.
ANAISS RIJO LELONEK, BUFFALO, FOR PETITIONER-RESPONDENT. 
DAVID C. SCHOPP, THE LEGAL AID BUREAU OF BUFFALO, INC., BUFFALO (ROXANNA Q. HERREID OF COUNSEL), ATTORNEY FOR THE CHILD. 


	Appeal from an order of the Family Court, Erie County (Sharon M. LoVallo, J.), entered October 17, 2022, in a proceeding pursuant to Social Services Law § 384-b. The order terminated the parental rights of respondent with respect to the subject child. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Same memorandum as in Matter of Patience E. (Victoria E.) ([appeal No. 1] — AD3d — [Mar. 15, 2024] [4th Dept 2024]).
Entered: March 15, 2024
Ann Dillon Flynn
Clerk of the Court








